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                                                 Dated: August 26th, 2022




                   UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                         HUNTINGTON DIVISION

In re:                                )   Case No. 19-30289
                                      )
Blackjewel L.L.C., et al.,            )   Chapter 11
                                      )
             Debtors.                 )   (Jointly Administered)


  ORDER GRANTING MEDIA REQUEST FOR RELEASE OF SELECT BLACKJEWEL

                                 EXHIBITS

     This case is before the Court on a request by Ken Ward,

Jr., a media agent with Mountain State Spotlight, to review a

certain document admitted into evidence in the captioned case as

Respondents’ Exhibit 2 (the “Exhibit”) at the hearing conducted

on July 2, 2019.

     IT IS HEREBY ORDERED that the Clerk of Court shall make the

Exhibit available for inspection by Mr. Ward at the office of

the Clerk.   Upon request and payment by Mr. Ward, the Clerk

shall provide copies at $0.50 per page.         The Clerk of Court



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shall maintain custody and control of the exhibit during the

inspection.

                            [END OF DOCUMENT]




                                      2
